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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

eet US DISTRICT COURT EASTERN DIVISION
UNITED STATES OF AMERICA
Case No. 22 CR 516
v.
Violations: Title 21, United States Code,
CARLOS JAMES, Sections 841(a)(1) and 846; and Title 18,
a/k/a “Los” a/k/a “Lo” United States Code, Sections 2, 922(g)(1),
a/k/a “Birdman”; 924(c)(1)(A), and 1343
SAMUEL BROOKS,
a/k/a “Sam” a/k/a “Sammy”;
DONALD WILLIAMS, Superseding Indictment
a/k/a “Trump”; ee
DAVID LAMB,
a/k/a “Little Dave”; 4-22-cr-00516
FELICIA SINGLETON, Judge Jahn F. Kness
alk/a “C” alk/a “CC”; Magistrate Beth W. Jantz
THOMAS BIRT,
a/k/a “Tommy”;
AVIS KNIGHT; and
HAYDEE GEENA CANO

COUNT ONE

The SPECIAL MAY 2022 GRAND JURY charges:

1. Beginning no later than on or about April 7, 2021, and continuing until

on or about October 19, 2022 at Chicago, in the Northern District of Illinois, Eastern

Division, and elsewhere,

CARLOS JAMES,
a/k/a “Los” a/k/a “Lo” a/k/a “Birdman”;
SAMUEL BROOKS,
alk/a “Sam” a/k/a “Sammy”;
DONALD WILLIAMS,

a/k/a “Trump”;
DAVID LAMB,

a/k/a “Little Dave”;
FELICIA SINGLETON,
alk/a “C” afk/a “CC”;
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THOMAS BIRT,
a/k/a “Tommy”;
AVIS KNIGHT, and
HAYDEE @EEEEA CANO,

defendants herein, did conspire with each other and with others known and unknown
to the Grand Jury, to knowingly and intentionally possess with intent to distribute
and distribute a controlled substance, namely, a quantity of a mixture and substance
containing a detectable amount of fentanyl (N-phenyl-N-[1-(2-phenylethy])-4-
piperidinyl] propanamide), a Schedule II Controlled Substance; a quantity of a
mixture and substance containing a detectable amount of heroin, a Schedule I
Controlled Substance; and a quantity of a mixture and substance containing a
detectable amount of cocaine, a Schedule IT Controlled Substance, in violation of Title
21, United States Code, Section 841(a)(1);

In violation of Title 21, United States Code, Section 846.

2. With respect to CARLOS JAMES and SAMUEL BROOKS, the offense
involved 400 grams or more of a mixture and substance containing a detectable
amount of fentanyl (N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide), a
Schedule II Controlled Substance, and one kilogram or more of a mixture and

substance containing a detectable amount of heroin, a Schedule I Controlled

Substance.
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COUNT TWO
The SPECIAL MAY 2022 GRAND JURY further charges:
On or about September 16, 2021, at Chicago, in the Northern District of

Illinois, Eastern Division,

CARLOS JAMES,
alkla “Los,” a/k/a “Los” a/k/a “Birdman”; and
SAMUEL BROOKS,
a/k/a “Sam” or “Sammy”, and
THOMAS BIRT,
a/k/a “Tommy”,

did knowingly and intentionally distribute a controlled substance, namely, a quantity
of a mixture and substance containing a detectable amount of fentanyl (N-phenyl-N-
[1-(2-phenylethy])-4-piperidiny]l] propanamide), a Schedule II Controlled Substance;
a quantity of a mixture and substance containing a detectable amount of heroin, a
Schedule I Controlled Substance; and a quantity of a mixture and substance
containing a detectable amount of cocaine base, a Schedule IT Controlled Substance;

In violation of Title 21, United States Code, Section 841(a)(1) and Title 18,

United States Code, Section 2.
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COUNTS THREE AND FOUR

The SPECIAL MAY 2022 GRAND JURY further charges:
On or about the dates listed below, at Chicago, in the Northern District of

Illinois, Eastern Division,

CARLOS JAMES,
a/k/a “Los,” a/k/a “Los” a/k/a “Birdman”; and
SAMUEL BROOKS,
a/k/a “Sam” or “Sammy”,

defendants herein, did knowingly and intentionally distribute a controlled substance,
namely, a quantity of a mixture and substance containing a detectable amount of
fentanyl (N-phenyl-N-[1-(2-phenylethy]l)-4-piperidinyl] propanamide), a Schedule IT
Controlled Substance; and a quantity of a mixture and substance containing a °

detectable amount of heroin, a Schedule I Controlled Substance, each such instance

being a separate Count of this Indictment:

~~ November 9, 2021

4 January 4, 2022

In violation of Title 21, United States Code, Section 841(a)(1) and Title 18,

United States Code, Section 2.
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COUNT FIVE
The SPECIAL MAY 2022 GRAND JURY further charges:

On or about February 7, 2022, at Chicago, in the Northern District of Illinois,

Eastern Division,

CARLOS JAMES,
a/k/a “Los,” a/k/a “Los” a/k/a “Birdman”; and
SAMUEL BROOKS,
a/k/a “Sam” or “Sammy”,

defendants herein, did knowingly and intentionally distribute a controlled substance,
namely, a quantity of a mixture and substance containing a detectable amount of
fentanyl (N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide), a Schedule II
Controlled Substance; and a quantity of a mixture and substance containing a
detectable amount of heroin, a Schedule I Controlled Substance;

In violation of Title 21, United States Code, Section 841(a)(1) and Title 18,

United States Code, Section 2.
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COUNT SIX
The SPECIAL MAY 2022 GRAND JURY further charges:

1. On or about August 31, 2022, at Chicago, in the Northern District of
Illinois, Eastern Division,
SAMUEL BROOKS,
a/k/a “Sam” or “Sammy”, and
HAYDEE GEESEA CANO,
defendants herein, did knowingly and intentionally possess with intent to distribute
a controlled substance, namely, a quantity of a mixture and substance containing a
detectable amount of fentanyl (N-phenyl-N-[1-(2-phenylethy])-4-piperidiny]]
propanamide), a Schedule II Controlled Substance; a quantity of a mixture and
substance containing a detectable amount of heroin, a Schedule I Controlled
Substance; and a quantity of a mixture and substance containing a detectable amount
of cocaine, a Schedule IJ Controlled Substance, in violation of Title 21, United States
Code, Section 841(a)(1);
In violation of Title 21, United States Code, Section 841(a)(1) and Title 18,
United States Code, Section 2.
2. With respect to SAMUEL BROOKS, the offense involved 40 grams or
more of a mixture and substance containing a detectable amount of fentanyl (N-
phenyl]-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide), a Schedule II Controlled
Substance, and 100 grams or more of a mixture and substance containing a detectable

amount of heroin, a Schedule I Controlled Substance.
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COUNT SEVEN
The SPECIAL MAY 2022 GRAND JURY further charges:

On or about August 31, 2022, at Chicago, in the Northern District of Illinois,

Eastern Division,

SAMUEL BROOKS,
alk/a “Sam” or “Sammy”,

defendant herein, knowing that he had previously been convicted of a crime
punishable by a term of imprisonment exceeding one year, did knowingly possess, in
and affecting interstate and foreign commerce, a firearm, namely, a loaded Glock
Model 22, .40 caliber semi-automatic pistol bearing serial number AARN333, a loaded
Smith & Wesson Model 27, .857 magnum revolver bearing serial number BET9680,
a loaded Smith & Wesson Model 33, .38 caliber revolver bearing serial number 37894,
and a loaded Harrington and Richardson Model “733, .32 caliber revolver bearing
serial number AG1298, in furtherance of a drug trafficking crime for which defendant
may be prosecuted in a court of the United States, namely, knowingly and
intentionally possessing with intent to distribute a controlled substance, in violation
of Title 21, United States Code, Section 841(a)(1), as charged in Count Six of this
Indictment;

In violation of Title 18, United States Code, Section 924(c)(1)(A).
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COUNT EIGHT
The SPECIAL MAY 2022 GRAND JURY further charges:
On or about August 31, 2022, at Chicago, in the Northern District of Illinois,

Eastern Division,

SAMUEL BROOKS,
a/k/a “Sam” or “Sammy”,

defendant herein, knowing that he had previously been convicted of a crime
punishable by a term of imprisonment exceeding one year, did knowingly possess, in
and affecting interstate and foreign commerce, a firearm, namely, a loaded Glock
Model 22, .40 caliber semi-automatic pistol bearing serial number AARN333, a loaded
Smith & Wesson Model 27, .857 magnum revolver bearing serial number BET9680,
a loaded Smith & Wesson Model 38, .38 caliber revolver bearing serial number 37894,
and a loaded Harrington and Richardson Model 733, .32 caliber revolver bearing
serial number AG1298, which firearm had traveled in interstate and foreign
commerce prior to the defendant’s possession of the firearm;

In violation of Title 18, United States Code, Section 922(g)(1).
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COUNT NINE

The SPECIAL MAY 2022 GRAND JURY further charges:
On or about October 18, 2022, at Chicago, in the Northern District of Illinois,

Eastern Division,

DONALD WILLIAMS,
a/k/a “Trump”,

did knowingly and intentionally possess with intent to distribute a controlled
substance, namely, and a quantity of a mixture and substance containing a detectable
amount of cocaine, a Schedule II Controlled Substance;

In violation of Title 21, United States Code, Section 841(a)({1) and Title 18,

United States Code, Section 2.
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COUNT TEN
The SPECIAL MAY 2022 GRAND JURY further charges:
On or about October 18, 2022, at Chicago, in the Northern District of Illinois,

Eastern Division,

DONALD WILLIAMS,
a/k/a “Trump”,

defendant herein, did knowingly possess a firearm, namely, a loaded Springfield
Armory Model XD9, nine-millimeter semi-automatic pistol, bearing serial number
MG439558, in furtherance of a drug trafficking crime for which defendant may be
prosecuted in a court of the United States, namely, possession with intent to
distribute a controlled substance, in violation of Title 21, United States Code, Section
841(a)(1), as charged in Count Nine of this Indictment;

In violation of Title 18, United States Code, Section 924(c)(1)(A).

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COUNT ELEVEN
’ The SPECIAL MAY 2022 GRAND JURY further charges:
On or about October 18, 2022, at Chicago, in the Northern District of Illinois,

Eastern Division,

DONALD WILLIAMS,
a/k/a “Trump”,

defendant herein, knowing that he had previously been convicted of a crime
punishable by a term of imprisonment exceeding one year, did knowingly possess, in
and affecting interstate and foreign commerce, a firearm, namely, a loaded
Springfield Armory Model XD9, 9 millimeter semi-automatic pistol, bearing serial
number MG489558, which firearm had traveled in interstate and foreign commerce
prior to the defendant’s possession of the firearm;

In violation of Title 18, United States Code, Section 922(g)(1).

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COUNT TWELVE
The SPECIAL MAY 2022 GRAND JURY further charges:

On or about October 18, 2022, at Chicago, in the Northern District of Illinois,

Eastern Division,

CARLOS JAMES,
a/k/a “Los,” a/k/a “Los” a/k/a “Birdman”,

defendant herein, did knowingly and intentionally possess with intent to distribute a
controlled substance, namely, 40 grams or more of a mixture and substance
containing a detectable amount of fentanyl (N-phenyl-N-[1-(2-phenylethyl)-4-
piperidinyl] propanamide), a Schedule II Controlled Substance, and 100 grams or
more of a mixture and substance containing a detectable amount of heroin, a
Schedule I Controlled Substance;

In violation of Title 21, United States Code, Section 841(a)(1).

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COUNT THIRTEEN
The SPECIAL MAY 2022 GRAND JURY further charges:

On or about October 18, 2022, at Chicago, in the Northern District of Illinois,

Eastern Division,

CARLOS JAMES,
a/k/a “Los,” a/k/a “Los” a/k/a “Birdman”,

defendant herein, did knowingly possess a firearm, namely, a loaded Smith & Wesson
Model M&P9, 9 millimeter semi-automatic pistol, bearing serial number HKF0437,
a loaded Imez Model IJ70-18A, 9 millimeter semi-automatic pistol, bearing serial
number J051952, and a loaded Smith & Wesson Model M&P 40 Shield, .40 semi-
automatic pistol, bearing serial number HLF3417, in furtherance of a drug trafficking
crime for which defendant may be prosecuted in a court of the United States, namely,
possession with intent to distribute a controlled substance, in violation of Title 21,
United States Code, Section 841(a)(1), as charged in Count Twelve of this Indictment;

In violation of Title 18, United States Code, Section 924(c)(1)(A).

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COUNT FOURTEEN

The SPECIAL MAY 2022 GRAND JURY further charges:
On or about October 18, 2022, at Chicago, in the Northern District of Illinois,

Eastern Division,

CARLOS JAMES,
a/k/a “Los” a/k/a “Lo” a/k/a “Birdman”,

defendant herein, knowing that he had previously been convicted of a crime
punishable by a term of imprisonment exceeding one year, did knowingly possess, in
and affecting interstate and foreign commerce, a firearm, namely, a loaded Smith &
Wesson Model M&P9, 9 millimeter semi-automatic pistol, bearing serial number
HKF0437, a loaded Imez Model IJ70-18A, 9 millimeter semi-automatic pistol,
bearing serial number J051952, and a loaded Smith & Wesson Model M&P 40 Shield,
.40 semi-automatic pistol, bearing serial number HLF3417, which firearm had
traveled in interstate and foreign commerce prior to the defendant’s possession of the

firearm;

In violation of Title 18, United States Code, Section 922(g)(1).

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COUNT FIFTEEN
The SPECIAL MAY 2022 GRAND JURY further charges:
1. At times material to this Indictment:

a. CARLOS JAMES, a/k/a “Los” a/k/a “Lo” a/k/a “Birdman”, was a
resident of Chicago, Illinois.

b. Dealership A was an automobile dealership located in Joliet,
Tlinois.

©. Dealertrack, Inc. (“Dealertrack”) was an internet-based computer
system that car dealerships, including Dealership A, used to submit loan applications
online through Dealertrack’s computer servers in Piscataway, New Jersey, which
loan applications were forwarded to consumer finance companies.

d. Santander Consumer USA, Inc. (“Santander”) is a consumer
finance company that finances motor vehicle loans.

e. Lenders, including Santander, required applicants for motor
vehicle loans to provide truthful information, including truthful information about
the applicant’s financial condition, employment, and income, which information was
material to lenders’ approval, terms, and funding of loans.

2. Between about April 2021 and October 2022, in the Northern District of
Illinois, Eastern Division, and elsewhere,

CARLOS JAMES,
a/k/a “Los” a/k/a “Lo” a/k/a “Birdman”,

defendant herein, and others known and unknown to the grand jury, devised,

intended to devise, and participated in a scheme to defraud lenders to obtain their

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money and property by means of materially false and fraudulent pretenses,
representations, and promises, and by concealment of material facts, which scheme
is further described below.

3. It was part of the scheme that defendant CARLOS JAMES caused to be
prepared and submitted to lenders a loan application for a Cadillac CTS bearing
registration CT95727 and VIN number 1G6AX5SS8H0172738 (the “Cadillac”) that
defendant CARLOS JAMES knew contained false and fraudulent information about
his qualifications for a motor vehicle loan, including false and fraudulent information
about his employment and income.

4. It was further part of the scheme that defendant CARLOS JAMES
caused to be prepared false and fraudulent documents, including false and fraudulent
bank statements, knowing that the bank statements would be submitted in support
of a credit application for a motor vehicle loan.

5. ~° It was further part of the scheme that defendant CARLOS JAMES
engaged in financial transactions to make payments towards a motor vehicle loan
balance that were designed in whole and in part to conceal and disguise the nature,
source, ownership, and control of the proceeds, and that while conducting such
financial transactions, knew that the property involved in the financial transaction
represented the proceeds of some form of unlawful activity.

6. It was further part of the scheme that defendant CARLOS JAMES did

misrepresent, conceal, and hide, and caused to be misrepresented, concealed, and

hidden, acts done in furtherance of the scheme and the purpose of those acts.

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7. On or about April 16, 2021, at Joliet, in the Northern District of Illinois,

Eastern Division, and elsewhere,

CARLOS JAMES,
a/k/a “Los” a/k/a “Lo” a/k/a “Birdman”,

defendant herein, for the purpose of executing the aforesaid scheme, knowingly
caused to be transmitted in interstate commerce, by means of wire communications,
certain writings, signs, and signals, namely, an internet transmission from
Dealership A in Joliet, Illinois to Piscataway, New Jersey, for the purpose of
submitting a credit application for a motor vehicle loan in the name of defendant
CARLOS JAMES;

In violation of Title 18, United States Code, Section 1343.

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FORFEITURE ALLEGATION

The SPECIAL MAY 2022 GRAND JURY further alleges:

1. Upon conviction of an offense in violation of Title 21, United States Code,
Sections 841 and 846, as set forth in this Indictment, defendant shall forfeit to the
United States of America any property which constitutes and is derived from proceeds
obtained, directly and indirectly, as a result of the offense; and any property used,
and intended to be used, in any manner and part, to commit and facilitate commission
of the offense, as provided in Title 21, United States Code, Sections 853(a).

2. Upon conviction of an offense in violation of Title 18, United States Code,
Section 922(g), as set forth in this Indictment, defendant shall forfeit to the United
States of America any firearms and ammunition involved in and used in the offense,
as provided in Title 18, United States Code, Section 924(d)(1) and Title 28, United
States Code, Section 2461(c).

3. Upon conviction of a violation of Title 18, United States Code, Section
1343, as set forth in this Indictment, the defendant shall forfeit all of his right, title
and interest to the United States, in any property, real or personal, involved in such
violation, or in any property traceable to such property, pursuant to Title 18, United
States Code, 982(a)(1).

4, Upon conviction of a violation of Title 18, United States Code, Section
1956, as set forth in this Indictment, the defendant shall forfeit all of his right, title
and interest to the United States, in any property, real or personal, involved in such

violation, or in any property traceable to such property, pursuant to Title 18, United

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States Code, 982(a)(1).
5. The property to be forfeited includes, but is not limited to:

a. a 2018 silver Volvo with Illinois license plate number DF23860
and bearing VIN number LYV402TK9JB173501.

b. approximately $12,572 in United States currency seized from
1700 North Mango Avenue, Basement Unit, in Chicago on or about August 31, 2022.

Cc. approximately $28,171 in United States currency seized from
1644 North Mayfield Avenue, Unit 2, in Chicago on or about October 18, 2022.

d. Glock Model 22, .40 caliber semi-automatic pistol bearing serial
number AARN333, and associated ammunition.

e. a Smith & Wesson Model 27, .857 magnum revolver bearing serial
number BET9680, and associated ammunition.

f. a Smith & Wesson Model 33, .88 caliber revolver bearing serial
number 37894, and associated ammunition.

g. a Harrington and Richardson Model 7338, .32 caliber revolver
bearing serial number AG1298, and associated ammunition.

h. a Smith & Wesson Model M&P9, 9 millimeter semi-automatic
pistol, bearing serial number HKF0437, and associated ammunition.

1. an Imez Model IJ70-18A, 9 millimeter semi-automatic pistol,

bearing serial number J051952, and associated ammunition.

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j. a Smith & Wesson Model M&P 40 Shield, .40 semi-automatic
pistol, bearing serial number HLF3417, and associated ammunition.

k. a Springfield Armory Model XD9, 9 millimeter semi-automatic
pistol, bearing serial number MG439558, and associated ammunition.

A TRUE BILL:

FOREPERSON

Signed by Erika Csicsila on behalf of the
UNITED STATES ATTORNEY

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